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6
                                 UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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9     ERNIE U.,                                         Case No. 2:20-CV-08022 (VEB)

                            Plaintiff,                  JUDGMENT
10
      vs.
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      KILOLO KIJAKAZI, Acting Commissioner of
12    Social Security,

                           Defendant.
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14          For the reasons set forth in the accompanying Decision and Order, it is hereby DECREED

15   THAT (1) Plaintiff’s request for an order remanding this case for further proceedings is GRANTED

     and the Commissioner’s decision is REVERSED; (2) the Commissioner’s request for an order
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     affirming the Commissioner’s final decision and dismissing the action is DENIED; (3) judgment is
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     entered in Plaintiff’s favor and this matter is REMANDED for further proceedings consistent with
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                        JUDGMENT – ERNIE U. v KIJAKAZI 20-CV-8022-VEB
     Case 2:20-cv-08022-VEB Document 20 Filed 10/20/21 Page 2 of 2 Page ID #:749




1    the Decision and Order; and (4) this case is CLOSED without prejudice to a timely application for

     attorneys’ fees and costs.
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            DATED this 20th day of October, 2021,
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                                                     /s/Victor E. Bianchini
4                                                    VICTOR E. BIANCHINI
                                                UNITED STATES MAGISTRATE JUDGE
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                         JUDGMENT – ERNIE U. v KIJAKAZI 20-CV-8022-VEB
